
Green J.
delivered the opinion of the court.
1. In this case, the first question is, whether the plain*155tiffs below had a right to their judgment against the securities without' their having notice ? This court decided, in the case of Baxter vs. March, (1 Yerg. Rep. 460,) that the securities need not have notice. In this case the constable had notice, and his liability being fixed, that of his securities followed as a consequence.
2. But it is said that Beasly, one of the securities, having died after the motion was made, and before judgment, that there ought to have been a sci. fa. to revive the motion against Anthony, his administrator. This was not necessary. If Beasly, while living, was not entitled to notice, there is no reason why his administrator should have such notice.
3. It is objected, that some of the money collected by file constable, and for which the judgment was given, appears to have been collected upon notes, the legal right to which was,in another person than the plaintiffs.
This can be no defence to the constable. He gave his receipt for the notes to the plaintiffs, and agreed to account with them for the money when collected. The possession of the notes .by them is sufficient evidence that tjjey were entitled to the money, and the constable was bound to pay it to them.
Judgment affirmed.
